Case 7:24-cv-02333-PMH                                 Document 37-1            Filed 11/19/24               Page 1 of 2




             Ronit Notarized Translation Services
                                    ,�,:e(lt le, ��fkM, «@ YCJ/'ffkJ/2 I� ,._(_}f£-Jre11,
  22 Aselin Drive                                                                                    Telephone (845)371-0884
  Spring Valley, NY I 0977                                                                            Fax                 (8.45)371-0884
                                                          EMBLEM
              STATE OF ISRAEL                                                       OFFICE OF RELIGIOUS SERVICES

                                           MARRIAGE CERTIFICATE No. 2283317
                   PERSONAi. DETAILS                               TH£HUSBAND                                     THEWTFE

  THE COUPLE: FAl>11LVNI\ME                                        f                                              R
  LAST NAt.fE FOLLOWING MARRIAGE                                   F                                          F
  FIRST NAMES                                                          J                                              P
  THE RELIGIOUS CONGREGATION                              ,IEWISII: COIJEN/LE\'1/ISRAt.:L                        .IEWISII
  DATE OF BIRTH                                                 .IANllR.\ \' 18. 1984                       JA1'1iAR\" 07. 1984
                                                               Y.ESIIJVA SCHOL<\.R                             st:ou.,·,,nv
  RECENT PROFESSl01'
  l'LACE OF RESIDENCE PRIOR TO                              lfr,.'ITED STATES, MONSEV               39EZR,\STRl-'.F.T.RNF.IBR�K
  MARRIAGE
  1.0.NO                                                  AMERICAN PASSPORT                                       039318001
  TIIEPARENTS                                              YF                                             IH
  I.AST & FIRS T NAMES OF THE FATHER
  LAST & HRST NAMES Of THE MOTHER                                      CAF                                EH
                                                                                                                  H"EI BHAh.
  FAHIER'S RESWENCI'
                                                                  UNITF.O STATF..S                             B'iEI BIUh'.
  MOTHER'S RESIDENCY
  FATU-ER'S PROFESSION                                             co�11•1.rrrns                          COLLECTOR
  MOTHER'S l'ROFESSION                                             HOUSEWIFE                              l:!Ol'SEWIFE
  THE Wf NESSES                                           IAD
         f
                                                                                                       YYW
  FAMTLY NAME & FIFtST N,\MF-'i

                                                                                                                                               ''---
  PROPESSIOi'i

  I hereby certify Lhal Lhc marriage ceremony of the above couple look pince in BNE:I BRAK on the 5RD _ dny on the month of
 CHE.SHVAN lo the yc11T ofTASHA"B Gtcgorinn date NOVEl\f0ER 022 2011 ._                     And regi:uer.:d in the R.�bbinicol 0ureou of
 BNEIBRAK

  Signature ofOclcgatcd Rabbi: On file.                            Stwnp: On file     Pictures of the couple: on file


                                                                                                                 .
 iCERTIFICATEOFTR<\NSLATION: ,                                                                                                             i
 ; Upon penalty of perjur . I hereby certily 1ha1 I am co1wcrsant i111hc Hebrew and English languagc.s and 1hat th.: lim;g,>ing
                         y




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   �J
 j is a true and com:cl ll'llllSlation from Hebrew into EngHsh.

 /Name and addrcs.� nf1mnslmor
 !Lior Kami. 22 Asclin l)rivc.
 1Spring Volley. NY 10977




 \TRANSLATOR SINATURE
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